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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT UF MISSISSIPPI

UNITED STATES OF AMERICA

v.                                                            Docket No. 4:1Scr71(7)-GHD-JMV

NADIA SMITH

                                ORDER SETTING SENTENCING

          Pursuant to the change of plea held February 8, 2016, and the Defendant's adjudication of
guilt,

          IT IS HEREBY ORDERED that,

       l.     The sentencing hearing in this matter is set Wednesday, June 8,2016, at 10:00
a.m., Courtroom No.1, OXFORD, Mississippi.

       2.      The United States Probation Office shall conduct a presentence investigation and
prepare a presentence report. Fed. R. Crim. P. 32(c) and (d), 18 U.S.c.§ 3552(a), and U.S.S.G. §
6Al.1.

        3.     The probation officer shall disclose the completed report to counsel for the
defendant and counsel for the government on or before May 4, 2016. Except for proposed
special conditions of supervision, the probation officer shall not disclose any recommendation
made or to be made to the Court. Fed. R. Crim. P. 32(e)(3).

        4.     Counsel shall attempt in good faith to resolve disputes over any material in the
presentence report. All arithmetical, typographical, or other clear error should be handled
informally, by counsel, with the probation oUker. Any unresolved objections to material
information, sentencing guideline ranges, and policy statements contained in or omitted from the
presentence report, shall be filed as a restricted document by the objecting party on or before
May 18,2016. Fed. R. Crim. P. 32(f)(2) and U.S.S.G. § 6A1.2(b). Any unresolved objections
will be included in the addendum to the presentence report.

         5.     Sentencing memoranda and/or supporting documents addressing all relevant
sentencing issues, including reference letters and motions for departure, shall be filed as
restricted documents by the appropriate party on or before May 25, 2016. Any unresolved
objections will be included in the presentence report; objections should not be included in a
sentencing memorandum.
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        6.      The presentence report, in final form, including any unresolved objections, will be
delivered to the Court and the parties on or before June 1,2016. Fed. R. Crim. P. 32(g) and
U.S.S.G. § 6A1.2 (c ).

       7.      The Court will resolve objections to the presentence report at the sentencing
hearing. Fed. R. Crim. P. 32(i) and U.S.S.G. § 6A1.3.

       8.      All parties that intend to have witnesses testify at sentencing shall give notice to

the cou:::n ~o~:.:r~:::::~::~:tencing date. ~ ;Jy~
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                                                      Glen H. Davidson,
                                                      Senior United States District Judge
